Case 3:21-cv-01293-PAD          Document 29         Filed 07/19/21    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 FAUSTINO XAVIER BETANCOURT-
 COLÓN,

        Plaintiff,
                                                           CIVIL NO. 21-1293 (PAD)
                v.

 B.V. PROPERTIES, INC., ET.AL.,

        Defendants.


                                           JUDGMENT

       In accordance with the Memorandum and Order entered at Docket No. 27, judgment is

hereby entered remanding the case to the Caguas Part of the Puerto Rico Court of First Instance.

       This case is now closed for statistical purposes.

       SO ORDERED.

       In San Juan, Puerto Rico, this 19th day of July, 2021.

                                                      s/Pedro A. Delgado-Hernández
                                                      PEDRO A. DELGADO HERNÁNDEZ
                                                      United States District Judge
